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                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

UNITED STATES OF AMERICA              §
                                      §
VS.                                   §            4:23-cr-00218-2
                                      §
DHIRENKUMAR VISHNUBHAI                §
PATEL                                 §
                                      §

              ORDER OF DETENTION PENDING TRIAL

      A hearing in this matter was held on August 21, 2023. Assistant United

States Attorney Stephanie Coon Bauman appeared on behalf of the United

States; Sara Beth Richey appeared on behalf of Defendant Dhirenkumar Patel.

At the hearing, Defendant acknowledged that he understands his right to a

prompt detention hearing and to require the Government to meet its burden of

proving that no conditions of release exist which will reasonably assure his

appearance in court and the safety of the community. Defendant knowingly

and voluntarily waived that right, on the record and through counsel. For good

cause shown, Defendant’s request to waive the detention hearing is hereby

GRANTED.

      It is therefore ORDERED that:

      (1) Defendant be detained pending trial;

      (2) Defendant be committed to the custody of the Attorney General or a
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     designated representative for confinement in a corrections facility

     separate, to the extent practicable, from persons awaiting or serving

     sentences or held in custody pending appeal.

  (3) Defendant be afforded a reasonable opportunity to consult privately

     with counsel for his defense; and

  (4) On order of a court of the United States or on request of an attorney

     for the Government, the person in charge of the corrections facility

     deliver Defendant to the United States marshal for a court

     appearance.

  Signed on August 21, 2023, at Houston, Texas.


                                          ___________________________
                                          Yvonne Y. Ho
                                          United States Magistrate Judge
